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9
                                  UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
12
13   UNITED STATES OF AMERICA,                    )         No. 3-07-70489 JCS
                                                  )
14            Plaintiff,                          )
                                                  )         [PROPOSED] ORDER FOR
15            v.                                  )         MODIFICATION OF CONDITIONS OF
                                                  )         RELEASE
16   PATRICE RAVEN,                               )
                                                  )
17            Defendant.                          )
                                                  )
18
19                                                ORDER
20         IT IS HEREBY ORDERED that the conditions of release and appearance set on August 17,
21   2007 for the above-captioned matter are modified in one respect. Defendant Patrice Raven is
22   permitted contact with co-defendant Jeanette Bland solely with respect to the subject of Patrice
23   Raven’s children and related family matters. This modification was made in open court after the
24   explicit promise of defendant Raven and co-defendant Bland that they would not discuss the
25   above-captioned matter outside of the presence of their attorneys. IT IS FURTHER ORDERED
26   that all other conditions of release and appearance imposed on August
27   \\
28   \\

     MODIFICATIONS OF RELEASE CONDITIONS
     No. 3-07-70489 JCS
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2    17, 2007 remained unmodified.




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              August 31, 2007
     DATED: ____________________                      ______________________________
4                                                     JOSEPH C. SPERO
                                                                                       Spero
                                                                               seph C.




                                                         NO
                                                                 J u d g e J o




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5                                                     United States Magistrate Judge




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     MODIFICATIONS OF RELEASE CONDITIONS
     No. 3-07-70489 JCS
